BURNS BAIR LLP
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Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


       THIRTY-SECOND MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
     AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
           AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                    JUNE 1, 2023 THROUGH JUNE 30, 2023

 Name of Applicant:                              Burns Bair LLP

 Authorized to Provide Professional              Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                              Effective October 29, 2020 pursuant to Order
                                                 dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                 June 1, 2023 – June 30, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,        $90,200.90
 reasonable, and necessary:                      80% of which is $72,160.72
 Amount of Expense Reimbursement sought
                                                 $0
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)           $72,160.72

This is the thirty-second monthly fee statement.
                                PRELIMINARY STATEMENT

       Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this thirty-second monthly statement (the “Monthly

Statement”) for the period from June 1, 2023 through June 30, 2023 (the “Statement Period”) for

payment of professional services rendered and reimbursement of expenses incurred during the

Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket No. 129] (the

“Interim Compensation Order”).        Burns Bair requests interim allowance and payment of

compensation in the amount of $72,160.72 (80% of $90,200.90) for fees on account of reasonable

and necessary professional services rendered to the Committee by Burns Bair.

       FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

       1.        Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                             Total
                                        Year of        Year of     Hourly                 Total
        Name                Title                                            Hours
                                      Partnership     Admission     Rate               Compensation
                                                                             Billed
Timothy Burns              Partner       2008           1991        $975     34.30       $33,442.50
Jesse Bair                 Partner       2020           2013        $625     36.80       $23,000.00
Nathan Kuenzi             Associate      N/A            2020        $420     13.60        $5,712.00
Brian Cawley              Associate      N/A            2020        $420     52.80       $22,176.00
Leakhena Au               Associate      N/A            2020        $420      3.70        $1,554.00
Katie Sticklen            Summer
                                          N/A           N/A        $378.00    7.80       $2,948.40
                          Associate
Alyssa Turgeon            Paralegal       N/A           N/A        $360.00     .20          $72.00
Karen Dempski             Paralegal       N/A           N/A        $360.00     .80         $288.00
Brenda Horn-Edwards       Paralegal       N/A           N/A        $360.00    2.80        $1,008.00
                                                                  TOTAL:     152.80      $90,200.90

       2.        The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.
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A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

                             NOTICE AND OBJECTION PROCEDURES

       3.      No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.

       4.      Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by August 15, 2023 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

       5.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 80% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.




                                                    3
Dated: July 31, 2023   BURNS BAIR LLP

                        /s/ Timothy W. Burns                       .




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                       Special Insurance Counsel to the Official
                       Committee of Unsecured Creditors of The Roman
                       Catholic Diocese of Rockville Centre, New York




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EXHIBIT A
                                       EXHIBIT A


                                    10 E. Doty St., Suite 600
                                  Madison, Wisconsin 53703-3392
                                          608-286-2302
                                       www.BurnsBair.com


The Official Committee of Unsecured Creditors of The                    Issue Date :       7/24/2023
Roman Catholic Diocese of Rockville Centre
                                                                               Bill # :       01165



Matter: Insurance

                          PROFESSIONAL SERVICES RENDERED


Date      Timekeeper          Narrative                                            Hours    Amount
6/1/2023 Jesse Bair           Preliminary review of the Court's Opinion            0.50      $312.50
                              denying the Diocese's motion for a preliminary
                              injunction (.3); correspondence with state court
                              counsel re insurance issues related to same
                              (.1); review correspondence with B. Michael re
                              same (.1);
6/1/2023 Jesse Bair           Review LMI's, Lexington's, and the Diocese's         0.20      $125.00
                              additional suggested edits to the joint status
                              update letter to Judge Cave (.2);
6/1/2023 Jesse Bair           Review Judge Cave's order granting in part and       0.10       $62.50
                              denying in part the parties' discovery motions in
                              the Arrowood district court action (.1);
6/1/2023 Jesse Bair           Prepare for discovery hearing in the Arrowood        0.20      $125.00
                              district court action (.2);
6/1/2023 Nathan Kuenzi        Analyze the Court's Opinion denying the              0.50      $210.00
                              Diocese's motion for a preliminary injunction
                              (.5);
6/1/2023 Jesse Bair           Review B. Cosgrove's objection to Arrowood's         0.10       $62.50
                              subpoena (.1);
6/1/2023 Jesse Bair           Participate in discovery hearing in the Arrowood     1.10      $687.50
                              district court action (1.1);
6/2/2023 Jesse Bair           Review draft order denying the Diocese's             0.10       $62.50
                              preliminary injunction motion (.1);
6/2/2023 Jesse Bair           Review the Court's Order regarding proposed          0.10       $62.50
                              phase 1 discovery in the LMI district court action
                              (.1);
6/3/2023 Jesse Bair           Continue analyzing the Court's Opinion denying       1.20      $750.00
                              the Diocese's motion for a preliminary injunction
                              (1.2);
6/4/2023 Jesse Bair           Review correspondence with B. Michael and            0.10       $62.50
                              state court counsel re call to discuss the Court's
                              preliminary injunction denial order (.1);
6/5/2023 Timothy Burns    Participate in state court counsel meeting re       1.30   $1,267.50
                          preliminary injunction ruling and going-forward
                          case strategy for insurance purposes (1.1);
                          participate in follow-up conference with J. Bair
                          re same and insurance next-steps (.2);
6/5/2023 Jesse Bair       Participate in state court counsel meeting re       1.30    $812.50
                          preliminary injunction ruling and going-forward
                          case strategy for insurance purposes (1.1);
                          participate in follow-up conference with T. Burns
                          re same and insurance next-steps (.2);
6/6/2023 Alyssa Turgeon   Participate in BB team meeting re case              0.10     $36.00
                          developments and assignments (.1);
6/6/2023 Jesse Bair       Review correspondence with the Diocese and          0.10     $62.50
                          Evanston re revised joint letter and proposed
                          discovery schedule (.1);
6/6/2023 Jesse Bair       Additional analysis re potential Arrowood           0.10     $62.50
                          Section 349 strategy (.1);
6/6/2023 Katie Sticklen   Participate in BB team meeting re case status       0.10     $37.80
                          and related assignments (.1);
6/6/2023 Timothy Burns    Participate in BB team meeting re case status       0.10     $97.50
                          and related projects (.1);
6/6/2023 Jesse Bair       Participate in BB team meeting re case              0.10     $62.50
                          developments and assignments (.1);
6/6/2023 Leakhena Au      Participate in BB team meeting re case status       0.10     $42.00
                          and related assignments (.1);
6/6/2023 Nathan Kuenzi    Participate in BB team meeting re case status       0.10     $42.00
                          and related projects (.1);
6/6/2023 Timothy Burns    Review correspondence from J. Stang re              0.10     $97.50
                          competing Plan issue (.1);
6/6/2023 Jesse Bair       Analyze the Court's Order sustaining the            0.80    $500.00
                          Diocese's sixth omnibus claims objection (.8);
6/6/2023 Jesse Bair       Review K. Dine correspondence re case status        0.10     $62.50
                          and recent developments (.1);
6/7/2023 Jesse Bair       Review and edit revised version of                  0.30    $187.50
                          memorandum to state court counsel re motion
                          to dismiss issues (.3);
6/7/2023 Jesse Bair       Participate in conference with T. Burns re          0.30    $187.50
                          Arrowood issues and strategy (.3);
6/7/2023 Jesse Bair       Correspondence with Arrowood and the                0.10     $62.50
                          Diocese re discovery meet and confer (.1);
6/7/2023 Jesse Bair       Correspondence with J. Stang re issues              0.10     $62.50
                          involving potential Section 349 claim against
                          Arrowood (.1);
6/7/2023 Brian Cawley     Review materials sent by J. Bair regarding          2.80   $1,176.00
                          automatic stay and relief therefrom (.5);
                          research case law re relief from stay issues in
                          connection with potential parish insurance
                          demand letters (2.3);
6/7/2023 Timothy Burns   Participate in conference with J. Bair re             2.30   $2,242.50
                         Evanston district court action and Committee
                         Plan issues (.2); review J. Bair correspondence
                         to Arrowood re discovery meet and confer (.1);
                         review J. Bair correspondence re motion to
                         dismiss memorandum to state court counsel
                         (.1); review K. Dine correspondence re CemCo
                         action (.1); review correspondence with
                         Evanston and the Diocese re requested
                         dismissal without prejudice (.1); review
                         correspondence with J. Stang re Arrowood
                         issues (.1); review K. Dine correspondence re
                         case status and developments (.1); analysis re
                         additional insurance projects for case next-
                         steps (.1); review the Diocese's suggested
                         changes to the draft order denying the
                         Diocese's preliminary injunction motion (.1);
                         review K. Brown correspondence re same (.1);
                         participate in conference with J. Bair re
                         Arrowood issues and strategy (.3); conference
                         with J. Bair and B. Cawley re potential parish
                         insurance demands and motion to lift stay
                         motion (.3); participate in call with state court
                         counsel and J. Bair re overall case insurance
                         strategy and next-steps (.2); participate in
                         follow-up call with J. Stang and J. Bair re same
                         (.4);
6/7/2023 Jesse Bair      Review the Diocese's suggested edits to the           0.10     $62.50
                         draft preliminary injunction denial order (.1);
6/7/2023 Jesse Bair      Review revised draft joint letter to Judge Cave       0.20    $125.00
                         re potential Phase 1 issues and discovery in the
                         LMI district court action (.2);
6/7/2023 Jesse Bair      Participate in conference with T. Burns re            0.20    $125.00
                         Evanston district court action and and
                         Committee Plan issues (.2);
6/7/2023 Brian Cawley    Participate in conference with T. Burns and J.        0.30    $126.00
                         Bair re potential parish insurance demands and
                         motion to lift stay motion (.3);
6/7/2023 Jesse Bair      Correspondence with the Diocese re Evanston           0.10     $62.50
                         district court action status and next-steps (.1);
6/7/2023 Jesse Bair      Review and edit revised draft of the                  0.70    $437.50
                         Committee's second amended Plan (.7);
6/7/2023 Jesse Bair      Participate in call with state court counsel and T.   0.60    $375.00
                         Burns re overall case insurance strategy and
                         next-steps (.2); participate in follow-up call with
                         J. Stang and T. Burns re same (.4);
6/7/2023 Jesse Bair      Participate in conference with T. Burns and B.        0.30    $187.50
                         Cawley re potential parish insurance demands
                         and motion to lift stay motion (.3);
6/8/2023 Jesse Bair      Review agenda for weekly strategy call with           1.60   $1,000.00
                         PSZJ team (.1); participate in portion of weekly
                         strategy conference with PSZJ team and T.
                         Burns for insurance purposes re litigation and
                         insurance strategy (1.5);
6/8/2023 Jesse Bair      Participate in detailed conference with T. Burns      0.70    $437.50
                         re next-steps re case insurance and settlement
                         strategy (.7);
6/8/2023 Jesse Bair      Review additional edits from LMI, Lexington,          0.30    $187.50
                         and the Diocese to the draft joint letter to Judge
                         Cave re proposed Phase 1 issues and
                         discovery (.2); review final version of letter
                         submitted to the Court (.1);
6/8/2023 Timothy Burns   Participate in portion of weekly strategy             6.20   $6,045.00
                         conference with PSZJ team and J. Bair for
                         insurance purposes re litigation and insurance
                         strategy (1.5); analyze the Court's Opinion
                         denying the Diocese's preliminary injunction
                         motion (1.4); review amended version of the
                         Committee's Plan (1.3); participate in
                         conference with J. Bair re next-steps re case
                         insurance and settlement strategy (.7);
                         participate in call with state court counsel and J.
                         Bair re insurance case strategy (.2); participate
                         in additional detailed conference with J. Bair re
                         insurance litigation and settlement strategy
                         (1.1);
6/8/2023 Jesse Bair      Begin reviewing and editing revised version of        1.20    $750.00
                         the Committee's amended disclosure statement
                         (1.2);
6/8/2023 Jesse Bair      Participate in additional detailed conference         1.10    $687.50
                         with T. Burns re insurance litigation and
                         settlement strategy (1.1);
6/8/2023 Jesse Bair      Review additional suggested edits from                0.20    $125.00
                         Evanston and the Diocese to the draft joint letter
                         to the Court in the Evanston district court action
                         re proposed discovery schedule (.1); review
                         final version of same (.1);
6/8/2023 Jesse Bair      Correspondence with the Diocese re Arrowood           0.10     $62.50
                         denials of coverage (.1);
6/8/2023 Jesse Bair      Participate in call with T. Burns and state court     0.20    $125.00
                         counsel re insurance case strategy (.2);
6/8/2023 Brian Cawley    Continue researching case law re relief from          6.40   $2,688.00
                         stay issues in connection with potential parish
                         insurance demand letters (3.1); begin
                         summarizing research for inclusion in motion for
                         relief from automatic stay (1.8); outline motion
                         for relief from automatic stay (1.5);
6/8/2023 Jesse Bair      Correspondence with Arrowood and the                  0.10     $62.50
                         Diocese re discovery meet and confer (.1);
6/9/2023 Jesse Bair       Review revised version of the draft Order          0.10     $62.50
                          denying the Diocese's motion for a preliminary
                          injunction (.1);
6/9/2023 Jesse Bair       Participate in state court counsel meeting re      1.70   $1,062.50
                          case insurance and litigation strategy (1.3);
                          participate in portion of post-meeting
                          conference with PSZJ and T. Burns re outcome
                          of state court counsel meeting and next-steps re
                          same (.4);
6/9/2023 Jesse Bair       Draft PowerPoint presentation re proposed          1.30    $812.50
                          insurance strategy for use during upcoming
                          state court counsel meeting (.6); participate in
                          conference with T. Burns re same and
                          preparations for meeting (.7);
6/9/2023 Brian Cawley     Continue researching case law re relief from       2.70   $1,134.00
                          stay issues in connection with potential parish
                          insurance demand letters (2.7);
6/9/2023 Timothy Burns    Prepare for state court counsel meeting re         4.30   $4,192.50
                          insurance strategy and next-steps (1.0); revise
                          and edit insurance PowerPoint presentation for
                          use during same (.6); participate in conference
                          with J. Bair re PowerPoint presentation and
                          preparations for state court counsel insurance
                          meeting (.7); participate in state court counsel
                          meeting re case insurance strategy (1.3);
                          participate in portion of post-meeting
                          conference with PSZJ and J. Bair re outcome of
                          state court counsel meeting and next-steps re
                          same (.4); conference with J. Bair re insurance
                          meeting with the Diocese (.1); review
                          correspondence from B. Michael re agenda for
                          upcoming PSZJ team strategy meeting (.1);
                          review correspondence from the Diocese re
                          Arrowood denials of coverage (.1);
6/9/2023 Jesse Bair       Correspondence with the Diocese re call to         0.20    $125.00
                          discuss case insurance issues (.1); participate
                          in conference with T. Burns re same (.1);
6/9/2023 Jesse Bair       Review summary re Arrowood coverage denials        0.10     $62.50
                          of parishes and affiliated entities (.1);
6/10/2023 Jesse Bair      Review B. Michael correspondence re agenda         0.10     $62.50
                          for upcoming team meeting re case litigation
                          strategy (.1);
6/10/2023 Timothy Burns   Review C. Moore deposition notice re the           0.30    $292.50
                          Committee's motion to dismiss (.1); review
                          correspondence from Reed Smith re insurance
                          meeting with the Diocese (.1); review
                          correspondence with the Diocese and PSZJ re
                          draft preliminary injunction order (.1);
6/11/2023 Brian Cawley    Begin drafting motion for relief from stay in      2.10    $882.00
                          connection with potential parish insurance
                          demand letters (2.1);
6/12/2023 Jesse Bair       Participate in BB team meeting re case                 0.10     $62.50
                           developments and ongoing projects (.1);
6/12/2023 Brian Cawley     Participate in BB team meeting regarding case          0.10     $42.00
                           status and related assignments (.1);
6/12/2023 Timothy Burns    Participate in call with J. Stang re issues re         0.40    $390.00
                           Delaware regulatory supervision of Arrowood
                           (.2); participate in call with J. Bair re same (.2);
6/12/2023 Jesse Bair       Review T. Burns correspondence re Arrowood             0.10     $62.50
                           strategy (.1);
6/12/2023 Jesse Bair       Participate in conference with Reed Smith and          0.80    $500.00
                           T. Burns re Arrowood issues (.6); post-call
                           discussion with T. Burns re outcome of same
                           and next-steps (.2);
6/12/2023 Brian Cawley     Continue researching case law re relief from           7.40   $3,108.00
                           stay issues in connection with potential parish
                           insurance demand letters (3.4); continue
                           drafting motion for relief from automatic stay in
                           connection with same (4.0);
6/12/2023 Nathan Kuenzi    Participate in BB team meeting re case                 0.10     $42.00
                           developments and assignments (.1);
6/12/2023 Jesse Bair       Participate in conference with T. Burns re             0.40    $250.00
                           Arrowood strategy and preparations for
                           upcoming call with Reed Smith re Arrowood
                           issues (.4);
6/12/2023 Jesse Bair       Review Judge Cave's Orders re upcoming                 0.10     $62.50
                           discovery status conferences in the LMI and
                           Evanston district court actions (.1);
6/12/2023 Timothy Burns    Review and respond to correspondence re                2.30   $2,242.50
                           Arrowood strategy (.2); participate in BB team
                           meeting re case developments and ongoing
                           projects (.1); conference with J. Bair re
                           Arrowood strategy and upcoming call with Reed
                           Smith re Arrowood issues (.4); review and
                           respond to correspondence from state court
                           counsel re Arrowood issues (.2); conference
                           with J. Bair re writ action against Arrowood in
                           Delaware (.1); participate in call with state court
                           counsel re developments re Arrowood (.1);
                           participate in conference with Reed Smith and
                           J. Bair re Arrowood issues (.6); participate in
                           post-call discussion with T. Burns re outcome of
                           same and next-steps (.2); review J. Bair
                           insurance statue update correspondence to
                           PSZJ team (.1); review various correspondence
                           with Reed Smith, LMI, and Lexington re hearing
                           on discovery in insurance district court
                           proceeding (.2); review proposed Order
                           adjourning discovery hearing in LMI/Lexington
                           insurance district court proceeding (.1);
6/12/2023 Katie Sticklen   Participate in BB team meeting regarding case          0.10     $37.80
                           status and related assignments (.1);
6/12/2023 Alyssa Turgeon   Participate in BB team meeting re case                0.10     $36.00
                           developments and ongoing projects (.1);
6/12/2023 Jesse Bair       Review proposed Order adjourning the LMI              0.10     $62.50
                           discovery status conference and related
                           correspondence with LMI and the Diocese re
                           same (.1);
6/12/2023 Jesse Bair       Review K. Dine correspondence re case                 0.10     $62.50
                           developments and next-steps (.1);
6/12/2023 Jesse Bair       Participate in conference with T. Burns re status     0.20    $125.00
                           of Diocese of Brooklyn's writ action against
                           Arrowood in Delaware (.1); conference with B.
                           Cawley re additional materials needed in
                           connection with same (.1);
6/12/2023 Jesse Bair       Participate in call with T. Burns re issues re        0.20    $125.00
                           Delaware regulatory supervision of Arrowood
                           (.2);
6/12/2023 Jesse Bair       Draft insurance status update email to PSZJ           0.30    $187.50
                           team re recent call with Reed Smith re
                           Arrowood and other insurance issues (.3);
6/13/2023 Jesse Bair       Prepare for discovery meet and confer with            0.90    $562.50
                           Arrowood and the Diocese (.4); participate in
                           discovery meet and confer with Arrowood and
                           the Diocese (.5);
6/13/2023 Jesse Bair       Review monthly Diocese PSIP report (.1);              0.10     $62.50
6/13/2023 Jesse Bair       Participate in portion of PSZJ team strategy          1.30    $812.50
                           meeting for insurance purposes re mediation,
                           litigation, and settlement strategy (1.2) ;
                           participate in post-meeting call with T. Burns re
                           insurance next-steps (.1);
6/13/2023 Brian Cawley     Finalize motion to lift the stay in connection with   4.50   $1,890.00
                           potential parish insurance demand letters (1.3);
                           review preliminary feedback on draft from T.
                           Burns (.2); conference with J. Bair re suggested
                           revisions to draft motion (.2); implement partner
                           feedback in draft (2.8);
6/13/2023 Jesse Bair       Analyze and respond to Claro questions re             0.20    $125.00
                           operation of certain Arrowood policies (.2);
6/13/2023 Jesse Bair       Review revised version of adjournment letter of       0.10     $62.50
                           LMI/Lexington discovery conference and related
                           correspondence (.1);
6/13/2023 Jesse Bair       Participate in call with T. Burns re discovery        0.40    $250.00
                           meet and confer outcome, Arrowood strategy,
                           and overall insurance strategy (.4);
6/13/2023 Jesse Bair       Preliminary review re draft motion to lift stay in    0.50    $312.50
                           connection with potential insurance demand
                           letters (.3); conference with B. Cawley re
                           suggested edits to same (.2);
6/13/2023 Jesse Bair       Revise and edit draft Section 349 complaint           0.30    $187.50
                           against Arrowood (.1); correspondence with
                           Reed Smith re same (.2);
6/13/2023 Jesse Bair      Participate in call with T. Burns re Arrowood         0.10     $62.50
                          strategy (.1);
6/13/2023 Timothy Burns   Review docket order from Mag. Judge Cave re           4.50   $4,387.50
                          July 15 hearing on discovery issues (.1); review
                          case dockets of Delaware and NC actions
                          involving Arrowood (.2); review Diocese PSIP
                          monthly report (.1); review and revise draft
                          motion to lift stay in connection with potential
                          insurance demand letters (.8); review J. Bair
                          correspondence to Reed Smith re draft Section
                          349 complaint against Arrowood (.1);
                          participate in call with J. Bair re Arrowood
                          strategy (.1); review materials re Arrowood’s
                          Delaware regulatory supervision from writ of
                          mandamus proceeding in Delaware and unfair
                          business practices action in North Carolina
                          (1.2); participate in call with B. Cawley re
                          Arrowood research project (.2); participate in
                          call with J. Bair re meet and confer outcome,
                          Arrowood strategy, and overall insurance
                          strategy (.4); participate in portion of PSZJ team
                          strategy meeting for insurance purposes re
                          mediation, litigation, and settlement strategy
                          (1.2); participate in post-meeting call with J.
                          Bair re insurance next-steps (.1);
6/13/2023 Brian Cawley    Research constitutional right to petition in          1.30    $546.00
                          context of automatic stay (.8); draft email
                          summarizing right to petition research for T.
                          Burns (.5);
6/13/2023 Jesse Bair      Continue reviewing and editing the Committee's        0.70    $437.50
                          second amended disclosure statement (.7);
6/13/2023 Jesse Bair      Review motion to dismiss scheduling order (.1);       0.10     $62.50
6/13/2023 Brian Cawley    Analysis of relevant pleadings and motions filed      1.10    $462.00
                          in the unfair business practices action against
                          Arrowood in North Carolina and the writ of
                          mandamus action involving Arrowood in
                          Delaware (1.1);
6/14/2023 Brian Cawley    Discuss new research assignment on Delaware           3.10   $1,302.00
                          duty to settle with J. Bair (.2); research contours
                          of Delaware duty to settle law (2.9);
6/14/2023 Jesse Bair      Analysis re insurer demand letter issues (.1);        0.20    $125.00
                          correspondence with B. Michael re same (.1);
6/14/2023 Jesse Bair      Analysis re Delaware duty to settle law in            0.30    $187.50
                          connection with Arrowood strategy (.1);
                          participate in conference with B. Cawley re
                          same and additional research needed (.2);
6/14/2023 Jesse Bair      Analysis re Arrowood claims monitor                   0.20    $125.00
                          information (.1); participate in conference with T.
                          Burns re same (.1);
6/14/2023 Brian Cawley    Additional analysis of relevant pleadings and         1.00    $420.00
                          motions from Delaware writ of mandamus
                          action involving Arrowood (1.0);
6/14/2023 Timothy Burns   Review Committee motion to amend claims               2.90   $2,827.50
                          objections procedures and related papers (.2);
                          review letter from C. Ball re same (.1); detailed
                          review of Arrowood materials from Delaware
                          writ proceeding and North Carolina unfair
                          business practices proceeding (2.6);
6/15/2023 Timothy Burns   Participate in calls with state court counsel re      0.70    $682.50
                          Arrowood strategy (.6); participate in call with J.
                          Bair re same (.1);
6/15/2023 Jesse Bair      Prepare for discovery hearing in the LMI district     0.70    $437.50
                          court action (.1); participate in discovery hearing
                          in the LMI district court action (.6);
6/15/2023 Nathan Kuenzi   Begin supplemental analysis re New York and           1.00    $420.00
                          Delaware Guarantee Funds in connection with
                          Arrowood strategy (1.0);
6/15/2023 Nathan Kuenzi   Research and analyze particular issues under          4.80   $2,016.00
                          New York and Delaware law involving New York
                          and Delaware guaranty funds and approach of
                          sexual abuse claimants to obtaining recovery
                          under those funds (4.8);
6/15/2023 Jesse Bair      Participate in call with T. Burns re Arrowood         0.10     $62.50
                          strategy (.1);
6/15/2023 Brian Cawley    Continue researching Delaware law re insurer          4.20   $1,764.00
                          duty to settle issues (3.5); begin drafting
                          summary of Delaware duty to settle issues (.7);
6/16/2023 Nathan Kuenzi   Draft summary for T. Burns re guarantee fund          1.40    $588.00
                          research results (1.4);
6/16/2023 Jesse Bair      Prepare for state court counsel meeting (.2);         0.80    $500.00
                          participate in state court counsel meeting for
                          insurance purposes re case litigation and
                          settlement strategy (.6);
6/16/2023 Nathan Kuenzi   Continue researching and analyzing particular         2.60   $1,092.00
                          issues under New York and Delaware law
                          involving New York and Delaware guaranty
                          funds and approach of sexual abuse claimants
                          to obtaining recovery under those funds (2.6);
6/16/2023 Jesse Bair      Review Reed Smith correspondence re                   0.20    $125.00
                          potential section 349 complaint against
                          Arrowood (.1); conference with T. Burns re same
                          (.1);
6/16/2023 Brian Cawley    Continue researching duty to settle issues under      1.70    $714.00
                          Delaware law (1.0); continue drafting summary
                          of research results and send to T. Burns and J.
                          Bair (.7);
6/16/2023 Timothy Burns   Analyze the Diocese's response to request to          1.10   $1,072.50
                          bring Section 349 GBL action against Arrowood
                          (.2); conference with J. Bair re same (.1);
                          prepare for state court counsel meeting (.2);
                          participate in state court counsel meeting for
                          insurance purposes re case litigation and
                          settlement strategy (.6);
6/16/2023 Jesse Bair      Prepare for discovery hearing in the Evanston          0.50    $312.50
                          district court action (.1); participate in discovery
                          hearing in the Evanston district court action (.4);
6/19/2023 Jesse Bair      Review Arrowood's letter to Judge Cave re              0.10     $62.50
                          Cosgrove subpoena resolution (.1);
6/19/2023 Jesse Bair      Analysis re Arrowood claim count (.2);                 0.30    $187.50
                          correspondence with T. Burns re same (.1);
6/19/2023 Timothy Burns   Review B. Michael correspondence re                    5.00   $4,875.00
                          Committee meeting and agenda (.1); review
                          Phase 1 discovery order in LMI district court
                          action (.1); review Arrowood letter to Court re
                          Cosgrove deposition and endorsement of Court
                          (.1): reviewed Pfau firm's response to 11th
                          Claims Objection and Amala declaration (.2);
                          reviewed Slater firm's response to 11th Claims
                          Objection (.1); reviewed Merson declaration re
                          12th Claims Objection (.1); reviewed Gair firm's
                          joinder to motion to dismiss (.1); review Ketterer
                          firm's opposition to 12th Claims Objection (.2);
                          reviewed Debtor's deposition notices of Amala
                          and D'Estries (.1); reviewed correspondence
                          from B. Michael re unstayed cases (.1); review
                          J. Cave's order re stay in Evanston district court
                          action (.1); review LMI's response to the
                          Committee's Insurance Law Section 3420 letter
                          (.1); review J. Cave's minute entry re Evanston
                          hearing (.1); review J. Bair memo re unstayed
                          cases (.1); review information provided by Reed
                          Smith re changes to Section 349 of the GBL
                          (.2); review B. Cawley's Arrowood related
                          research memo (.2); review N. Kuenzi's
                          Arrowood related research memos (.2); review
                          the Committee's deposition notice of Diocese
                          (.1); review Ninth Omnibus Objection Order (.1);
                          review Sixth Omnibus Claims Objection Order
                          (.1); review revised version of draft motion to lift
                          say in connection with potential parish insurance
                          demands (.3); review 13th Omnibus Objection
                          (.3); review 14th Omnibus Objection (.2); review
                          15th Omnibus Claims Objection (.2); review
                          First Amended Stipulation and Agreed
                          Scheduling Order (.1); review the Committee's
                          meet-and-confer letter re claims objections
                          procedures (.1); prepared note to file re 6/16/23
                          State Court Counsel call (.3); review late notice
                          and expected/intended research (.5); review
                          notice of propensity to abuse research (.5);
6/19/2023 Jesse Bair      Review discovery order entered in the Evanston         0.10     $62.50
                          District Court action (.1);
6/19/2023 Jesse Bair      Review LMI's response to the Committee                 0.10     $62.50
                          Section 3420 notice letter (.1);
6/19/2023 Jesse Bair      Review discovery order entered in the LMI              0.10     $62.50
                          District Court action (.1);
6/19/2023 Jesse Bair      Review agenda for upcoming Committee                0.10    $62.50
                          meeting (.1);
6/20/2023 Timothy Burns   Conference with J. Bair re insurance mediation      0.90   $877.50
                          strategy and Arrowood issues (.2); participate in
                          Committee meeting for insurance purposes re
                          case developments and strategy (.7);
6/20/2023 Jesse Bair      Review the Diocese's objection to the               0.20   $125.00
                          Committee's motion to amend the claim
                          objections procedures order (.2);
6/20/2023 Jesse Bair      Participate in state court counsel meeting for      0.70   $437.50
                          insurance purposes re case developments and
                          strategy (.7);
6/20/2023 Jesse Bair      Participate in conference with T. Burns re          0.20   $125.00
                          mediation strategy and Arrowood issues (.2);
6/21/2023 Leakhena Au     Review grand jury report and summarize              2.10   $882.00
                          expected or intended issues re the parishes
                          (2.1);
6/21/2023 Jesse Bair      Review the Diocese's letter to the Court re         0.20   $125.00
                          scope of notice discovery (.1); review the
                          Committee's response to same (.1);
6/21/2023 Jesse Bair      Analysis re insurance demand letter issues (.1);    0.50   $312.50
                          participate in call with B. Michael re same (.4);
6/21/2023 Jesse Bair      Review prior analysis re expected or intended       0.20   $125.00
                          issues (.1); provide instructions to L. Au re
                          supplemental analysis needed in connection
                          with same (.1);
6/22/2023 Leakhena Au     Continue reviewing grand jury report,               1.50   $630.00
                          summarize expected or intended issues related
                          to the parishes, and send findings to J. Bair
                          (1.5);
6/22/2023 Jesse Bair      Review N. Kuenzi email memorandum re                0.20   $125.00
                          Delaware unfair claims handling rules in
                          connection with Arrowood strategy (.2);
6/22/2023 Timothy Burns   Review L. Au's notice/knowledge memo (.2);          0.80   $780.00
                          review agenda for weekly strategy call with
                          PSZJ (.1): review the Diocese's objection to
                          motion to amend claims objections procedures
                          (.2); review letter to the Court from the Diocese
                          re scope of notice discovery (.2); review the
                          Committee's response letter (.1);
6/22/2023 Jesse Bair      Review correspondence with B. Michael and           0.10    $62.50
                          state court counsel re motion to dismiss hearing
                          issues (.1);
6/22/2023 Jesse Bair      Review L. Au email memorandum re                    0.10    $62.50
                          parameters of Committee intervention rights in
                          connection with Arrowood district court action
                          (.1);
6/22/2023 Jesse Bair      Review agenda for weekly strategy call with         0.10    $62.50
                          PSZJ (.1):
6/23/2023 Jesse Bair      Correspondence with B. Michael re insurance         0.20   $125.00
                          demand letter issues (.2);
6/23/2023 Jesse Bair      Review and consider L. Au's supplemental            0.40   $250.00
                          expected or intended analysis (.4);
6/23/2023 Jesse Bair      Preliminary analysis re Interstate's responses to   0.20   $125.00
                          the Committee's Section 3420 notice letter (.2);
6/23/2023 Jesse Bair      Review the Diocese's reply in support of its 11th   0.10    $62.50
                          omnibus claims objection re BSA claims (.1);
6/23/2023 Timothy Burns   Review correspondence with PSZJ and state           0.10    $97.50
                          court counsel re motion to dismiss hearing (.1);
6/23/2023 Jesse Bair      Additional analysis re LMI's response to the        0.20   $125.00
                          Committee's Section 3420 notice letter (.1);
                          correspond with LMI re same (.1);
6/23/2023 Jesse Bair      Review the Committee's reply in support of its      0.10    $62.50
                          motion to amend claims objections procedures
                          order (.1);
6/23/2023 Karen Dempski   Draft monthly BB fee statement (.6); generate       0.80   $288.00
                          and edit Exhibit A to same (.1); correspond with
                          J. Bair re same (.1);
6/26/2023 Brian Cawley    Correspond with J. Bair regarding Interstate        1.60   $672.00
                          coverage letter review project (.2); begin
                          analyzing each individual coverage position
                          letter sent by Interstate to state court counsel
                          (1.4);
6/26/2023 Jesse Bair      Additional analysis of Interstate's responses to    0.40   $250.00
                          the Committee's Section 3420 notice letter (.2);
                          provide instructions to N. Kuenzi and B. Cawley
                          re supplemental analysis needed in connection
                          with same (.2);
6/26/2023 Jesse Bair      Participate in conference with T. Burns re case     0.10    $62.50
                          developments and insurance next-steps (.1);
6/26/2023 Nathan Kuenzi   Review correspondence with J. Bair regarding        1.80   $756.00
                          Interstate coverage letter review project (.2);
                          begin analyzing each individual coverage
                          position letter sent by Interstate to state court
                          counsel (1.6);
6/26/2023 Jesse Bair      Review correspondence with J. Stang and state       0.10    $62.50
                          court counsel re parish stay issues (.1);
6/26/2023 Jesse Bair      Review Lexington's' response to the                 0.20   $125.00
                          Committee's Section 3420 notice letter (.2);
6/26/2023 Timothy Burns   Participate in conference with J. Bair re case      0.10    $97.50
                          developments and insurance next-steps (.1);
6/27/2023 Nathan Kuenzi   Analyze issues raised by partial denial and         1.30   $546.00
                          reservation of rights in review of Interstate
                          coverage position letters (1.3);
6/27/2023 Timothy Burns   Review correspondence re removal issues (.2);       0.60   $585.00
                          review correspondence re claims objection
                          hearing (.2); review correspondence with
                          Arrowood re protective order (.2);
6/27/2023 Jesse Bair      Answer B. Cawley questions re analysis of           0.10    $62.50
                          Interstate coverage position letters (.1);
6/27/2023 Jesse Bair          Review draft joint letter to Judge Cave re            0.30    $187.50
                              proposed confidentiality agreement in the
                              Arrowood district court action (.1); review draft
                              confidentially stipulation (.1); correspondence
                              with the Diocese and Arrowood re same (.1);
6/27/2023 Brian Cawley        Continue analyzing each individual coverage           5.60   $2,352.00
                              position letter sent by Interstate to state court
                              counsel (5.6);
6/27/2023 Katie Sticklen      Discuss Interstate coverage letter review project     2.90   $1,096.20
                              with B. Cawley (.7); begin analyzing each
                              individual coverage position letter sent by
                              Interstate to state court counsel (2.2);
6/27/2023 Jesse Bair          Correspondence with B. Horn re BB's eighth            0.20    $125.00
                              interim fee application (.2);
6/27/2023 Jesse Bair          Review correspondence from B. Michael re              0.10     $62.50
                              motion to dismiss hearing issues (.1);
6/27/2023 Brian Cawley        Discuss Interstate coverage letter review project     0.70    $294.00
                              with K. Sticklen (.7);
6/28/2023 Katie Sticklen      Continue analyzing each individual coverage           4.70   $1,776.60
                              position letter sent by Interstate to state court
                              counsel (4.7);
6/28/2023 Jesse Bair          Review final version of the Arrowood district         0.10     $62.50
                              court action confidentiality stipulation and
                              protective order (.1);
6/28/2023 Brian Cawley        Continue analyzing each individual coverage           4.00   $1,680.00
                              position letter sent by Interstate to state court
                              counsel (4.0);
6/29/2023 Brenda Horn-Edwards Draft BB eighth interim fee application (1.6);        2.70    $972.00
                              revise declaration of T. Burns re same (.2); draft
                              exhibits to same (.8); correspond with J. Bair re
                              same (.1);
6/29/2023 Jesse Bair          Review the Diocese's opposition to the                0.60    $375.00
                              Committee's motion to dismiss (.5); conference
                              with T. Burns re same (.1);
6/29/2023 Brian Cawley        Finalize summary of Interstate coverage               2.20    $924.00
                              position letters sent to state court counsel (2.2);
6/29/2023 Jesse Bair          Review Arrowood's response to the                     0.20    $125.00
                              Committee's Section 3420 notice letter (.2);
6/29/2023 Jesse Bair          Review the parties' joint status letter to Judge      0.10     $62.50
                              Rochon in the Arrowood district court action (.1);
6/29/2023 Jesse Bair          Review the future claims representative's             0.30    $187.50
                              opposition to the Committee's motion to
                              dismiss (.3);
6/29/2023 Jesse Bair          Review draft of the Committee's reply in support      0.30    $187.50
                              of its motion to dismiss (.3);
6/29/2023 Timothy Burns       Conference with J. Bair re the Diocese's              0.10     $97.50
                              opposition to the Committee's motion to
                              dismiss (.1);
6/30/2023 Jesse Bair          Review correspondence with the mediator re             0.20     $125.00
                              Arrowood claims monitor issues (.1); review
                              Delaware regulator order in connection with
                              same (.1);
6/30/2023 Jesse Bair          Review suggested addendum to the case                  0.10       $62.50
                              protective order provided by Arrowood (.1);
6/30/2023 Jesse Bair          Review K. Dine correspondence re motion to             0.10       $62.50
                              dismiss update (.1);
6/30/2023 Jesse Bair          Review P. Shields declaration in support of the        0.10       $62.50
                              Committee's motion to dismiss (.1);
6/30/2023 Brenda Horn-Edwards Revise BB eighth interim fee application (.1);         0.10       $36.00
6/30/2023 Jesse Bair          Review J. Amala declaration in support of the          0.10       $62.50
                              Committee's motion to dismiss (.1);
6/30/2023 Jesse Bair          Review Judge Rochon's Order adjourning the             0.10       $62.50
                              post-discovery hearing in the Arrowood district
                              court action (.1);
6/30/2023 Jesse Bair          Review P. Stoneking declaration in support of          0.10       $62.50
                              the Committee's motion to dismiss (.1);
6/30/2023 Timothy Burns       Correspondence with the mediator re Arrowood           0.20     $195.00
                              claims monitor issues (.1); review
                              correspondence with J. Bair and Arrowood re
                              protective order in district court proceeding (.1):
6/30/2023 Jesse Bair          Review C. d'Estries declaration in support of the      0.10       $62.50
                              Committee's motion to dismiss (.1);
Total Hours and Fees                                                                152.80 $90,200.90


                                       Timekeeper Summary
Name                                                Hours               Rate                  Amount
Alyssa Turgeon                                        0.20           $360.00                   $72.00
Brenda Horn-Edwards                                   2.80           $360.00                 $1,008.00
Brian Cawley                                         52.80           $420.00                $22,176.00
Jesse Bair                                           36.80           $625.00                $23,000.00
Karen Dempski                                         0.80           $360.00                  $288.00
Katie Sticklen                                        7.80           $378.00                 $2,948.40
Leakhena Au                                           3.70           $420.00                 $1,554.00
Nathan Kuenzi                                        13.60           $420.00                 $5,712.00
Timothy Burns                                        34.30           $975.00                $33,442.50



                                                                 Total Due This Invoice: $90,200.90
